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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DISTRICT

NICOLE MOTTO; and WILLIAM                 )
MOTTO,                                    )
                                          )
      Plaintiff,                          )
                                          )
                                                   NO. 4:11-CV-00742-BSM
v.                                        )
                                          )
STATE FARM FIRE AND                       )
CASUALTY COMPANY,                         )
    Defendant.                            )


U.S. BANK, N.A. AND OCWEN LOAN SERVICING, LLCS’ MOTION TO
STAY DISBURSEMENT OF FUNDS HELD IN THE COURT’S REGISTRY


      COMES NOW U.S. Bank National Association (“U.S. Bank”) and Ocwen

Loan Servicing, LLC (“Ocwen”) and move this court to stay the disbursement of

proceeds held in the Court’s registry pending completion of a separate declaratory

judgment concerning entitlement to said proceeds and filed at the suggestion of

this Court.

      1.      This action sought determination of the party with a superior claim to

the settlement proceeds related to insurance proceeds for mortgaged property that

was destroyed by fire on May 21, 2010.




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       2.     The casualty insurer, State Farm, issued a joint check to Nichole

Motto (“Mrs. Motto”) and GMAC Mortgage, LLC (“GMAC”). This action

concerns entitlement to those proceeds (“the Proceeds”).

       3.     GMAC was ultimately dismissed from this action after it filed for

bankruptcy protection.

       4.     At trial, in January 2013, Mrs. Motto and State Farm entered a

settlement agreement whereby State Farm paid $462,507.38 (into the district court

registry) as a full and final release of its liability related to the Proceeds.

       5.     After the interested parties to the mortgage filed multiple motions to

intervene, a motion to reconsider, and a claims to the insurance proceeds in

accordance with this Court’s post-judgment, quasi-interpleader process, this Court

determined on July 26, 2013 to stay disbursement of the funds pending

completion of the pending appeal before the Eight Circuit Court of Appeals.

[Doc. # 142].

       6.     This Court also invited the parties claiming entitlement to the

insurance proceeds to “enforce any rights [] against [Ms.] Motto by suing her.”

U.S. Bank and Ocwen have done so by filing a separate action styled U.S.

Bank,N.A. as Trustee and Ocwen Loan Servicing, LLC v. Nicole Motto, William

Mott, State Farm, and Sutter and Gillham, PLLC, 4:13-cv-390-KGB. [Doc. #

118]. U.S. Bank and Ocwen currently have a Motion for Summary Judgment


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pending in that action seeking determination of entitlement to recovery of the

Proceeds from the defendants.

        7.       The current stay pending the appeal before Eighth Circuit appears

likely to dissolve in short order given the opinion issued on August 28, 2014

dismissing Plaintiffs’ appeal.1                However, the Eighth Circuit recognized the

potential prejudice which existed in light of the fact that, if the funds are disbursed

to Ms. Motto before U.S. Bank’s and Ocwen’s claimed rights to the funds are

resolved, those funds are at a substantial risk of being disposed of. See Ex. A at 6

(discussing Curtis v. Sears, Roebuck & Co., 754 F.2d 781, 782-84 (8th Cir. 1985),

and noting that “the lapse of time required to institute a new action and to effect

service on the insured could give the insured time to spend the money or otherwise

impede recovery”). The Eighth Circuit’s denial of the appeal appears based

partially on the assumption that the lower courts might extend the stay of the

disbursement of funds pending completion of the declaratory judgment

action. Ex. A at 6-7.

        8.       In light of the likely abrogation of the stay, this Court should extend

the stay of disbursement of the Proceeds during the pendency of this action

because disbursement will, as a practical matter, render the declaratory judgment

action pointless. As redress for U.S. Bank, Ocwen and their predecessors-in-
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  The Opinion of the Eighth Circuit is attached hereto as Exhibit A. The appeal has not officially closed pending
disposition of a Motion to Reconsider.


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interests’ inability to participate in this litigation, this court invited the lenders to

“enforce any rights . . . against Motto by suing her.” Early disbursement of the

Proceeds made subject of the declaratory judgment action will inhibit or absolutely

defeat U.S. Bank and Ocwen’s ability to exercise that option and to claim Proceeds

to which they are rightfully entitled. It will also provide a windfall to Motto who

has undisputedly not satisfied the indebtedness underlying the subject loan (which

was used to purchase the property at issue). This Court should not countenance

such an inequitable result and should afford U.S. Bank and Ocwen an opportunity

to fully adjudicate their rights to the Proceeds.

      WHEREFORE, premises considered, Ocwen and U.S. Bank respectfully

request that the Court grant this Motion to Stay Disbursement of Funds Held in the

Court Registry pending completion of the separate declaratory judgment action

because determination of the party with a superior claim to the Proceeds is

contingent on Ocwen and U.S. Bank’s declaratory judgment action.

      Respectfully submitted this 4th day of September, 2014.


                                               /s/ Blake Goodsell
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                      CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of September, 2014, I served the
foregoing via first-class U.S. Mail, postage prepaid, to the following:

                              James M. Scurlock
                             Luther Oneal Sutter
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                                      /s/ Blake Goodsell
                                      OF COUNSEL




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